Case 1:14-cv-01523-RCL Document 145 Filed 12/04/20 Page 1 of 14

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA

ADAM STEELE, e7 ai.,
Plaintiffs,

V. Case No. 1:14-cv-1523 (RCL)

UNITED STATES OF AMERICA,

Defendant.

 

 

MEMORANDUM OPINION

Before the Court are two related motions: plaintiffs’ motion for a preliminary injunction,
ECF No. 128, and their motion for leave to file a second amended complaint, ECF No. 133. For
the reasons explained below, the Court will GRANT IN PART and DENY IN PART plaintiffs’
motion to file a second amended complaint, ECF No. 133. It will grant the motion only with respect
to the proposed additions consented to by the Government, as indicated in ECF No. 139-1. It will
deny the motion with respect to the two proposed additions the Government opposes. See ECF No.
139-1 at 15 & 17. Furthermore, because plaintiffs’ preliminary injunction motion seeks to enjoin
a practice that plaintiffs do not challenge in the operative complaint—the second amended
complaint—the Court will DENY plaintiffs’ preliminary injunction motion, ECF No. 128.

I. BACKGROUND

In 2010, the Internal Revenue Service (“IRS”) passed a series of regulations governing the
conduct of tax-return preparers, i.e., those who are paid to prepare tax returns for others or those
who employ persons who prepare returns for compensation. Montrois v. United States,
916 F.3d 1056, 1058-59 (D.C. Cir. 2019); see 26 U.S.C. § 7701(36)(A) (defining tax-return

preparer). First, the IRS began requiring all tax-return preparers to obtain a Preparer Tax
Case 1:14-cv-01523-RCL Document 145 Filed 12/04/20 Page 2 of 14

Identification Number (““PTIN”) and include that unique identifying number on all tax returns they
prepared.' 26 C.F.R. § 1.6109-2(a)(2). The IRS also required tax-return preparers to renew their
PTINs annually (“PTIN renewal requirement”). Montrois, 916 F.3d at 1059 (citing Furnishing
Ideduiaving Number of Tax Return Preparer, 75 Fed. Reg. 60,309 (Sept. 30, 2010)). And it began
charging tax-return preparers a fee for the issuance and annual renewal of their PTINs (“PTIN
fees”). Jd. (citing User Fees Relating to Enrollment and Preparer Tax Identification Numbers,
75 Fed. Reg. 60,316 (Sept. 30, 2010)). This suit involves a challenge to those fees.

A. Procedural History

Plaintiffs in this matter are a certified class of “individuals and entities who have paid an
initial and/or renewal fee for a PTIN.” ECF No. 63 at.1. In September 2014, plaintiffs filed a class
complaint alleging that the U.S. Department of the Treasury (“Treasury Department”) and IRS
lack statutory authority to charge a fee for the issuance and renewal of PTINs. Compl., ECF No. 1
at 30. Alternatively, plaintiffs claimed that even if the IRS can lawfully charge fees for the issuance
and renewal of PTINs, the amount of fees charged is excessive. Jd. The complaint sought
declaratory relief, injunctive relief, and restitution. /d. at 30-31.

In August 2015, after the Court consolidated the captioned case with another related action”
and appointed Motley Rice LLC as interim class counsel in the newly consolidated matter, ECF
No. 38, plaintiffs amended their class complaint. See Am. Compl., ECF No. 41. Though the
amended complaint still challenged the IRS’s authority to charge a fee for the issuance and renewal
of PTINs and alleged that the amount of fees charged was excessive, ECF No. 1, it omitted one

request for relief included in the initial complaint. In the initial complaint, plaintiffs sought a

 

' Before 2010, tax-return preparers could include their social security number on returns they prepared for
identification purposes. 26 C.F.R. § 1.6109-2(a)(2)(i).

* The Court consolidated the captioned matter, Steele, et al. vy. United States (14-cv-1523), with the related
matter of Dickson v. United States (14-cv-2221).
Case 1:14-cv-01523-RCL Document 145 Filed 12/04/20 Page 3 of 14

permanent injunction prohibiting the Treasury Department from requiring tax-return preparers to
renew their PTINs. Compl. 32. In the amended complaint, however, plaintiffs removed this request
and instead focused exclusively on the IRS’s charging of fees for the initial issuance and
subsequent renewal of PTINs. See id. Apparently, the decision to omit this request for relief from
the amended complaint was made by class counsel over the objection of one of plaintiffs’ counsel,
Mr. Allen Buckley of Allen Buckley LLC. See ECF No. 13] at 3 n.1.

After the Court granted class certification, ECF No. 63, both parties moved for partial
summary judgment on the question of whether the IRS has statutory authority to charge a fee for
the issuance and renewal of PTINs. ECF Nos. 66 & 67. Specifically, the parties disputed whether
.the collection of PTIN fees violated the Independent Offices Appropriations Act (““IOAA”),
31 U.S.C. § 9701(b), which sets forth requirements that must be met before a féderal agency can
charge a fee for “a service or thing of value” provided by the agency. See ECF Nos. 66 at 5 & 67
at 7; 31 U.S.C. § 9701(b). They also disputed whether the IRS’s collection of PTIN fees was
arbitrary and capricious. See ECF No. 67 at 17-19.

Before addressing the legality of PTIN fees, the Court first noted that the IRS can legally
require the exclusive use of PTINs (as opposed to social security numbers) under 26 U.S.C.
§ 6109(d).? Steele v. United States, 260 F. Supp. 3d 52, 62-63 (D.D.C. 2017). The Court then held
that the IOAA does not authorize the IRS to charge a fee for issuing PTINs. Jd. at 63-67.
Accordingly, the Court permanently enjoined the IRS from charging PTIN fees and ordered it to

refund class members for all PTIN fees collected. ECF No. 82 at 3.

 

3 Section 6109(d) provides that “[t]he social security account number issued to an individual for purposes
of section 205(c)(2)(A) of the Social Security Act shall, except as shall otherwise be specified under
regulations of the Secretary, be used as the identifying number for such individual for purposes of this title.”
26 U.S.C. § 6109(d).
Case 1:14-cv-01523-RCL Document 145 Filed 12/04/20 Page 4 of 14

On appeal, the D.C. Circuit disagreed. Montrois, 916 F.3d at 1058. It held that the IOAA
does authorize the IRS to charge fees for the issuance and renewal of PTINs. /d. The D.C. Circuit
also held that the IRS’s decision to charge a fee for the issuance and renewal of PTINs was not
arbitrary and capricious. Jd. The D.C. Circuit thus vacated the Court’s permanent injunction and
remanded with instruction that the Court consider whether the amount of PTIN fees charged
unreasonably exceeds the cost to the IRS to issue and maintain the PTINs. Jd.

Ever since the D.C. Circuit remanded the matter to this Court in March 2019, the parties
have been conducting discovery on the reasonableness of the fees charged between 2010 (when
the IRS began charging PTIN fees) and 2017 (when this Court permanently enjoined the IRS from
charging PTIN fees). See ECF No. 127. This brings us to the two motions presently before the
Court: plaintiffs’ preliminary injunction motion, ECF No. 128, and their motion for leave to file a
second amended complaint, ECF No. 133.

B. Plaintiffs’ Preliminary Injunction Motion

The D.C. Circuit’s ruling in Montrois that the IRS can lawfully charge fees for the issuance
and renewal of PTINs forced plaintiffs to retreat to their fallback claim: that the amount of fees
charged is excessive. Am. Compl. 30-31. But one of plaintiffs’ counsel, Mr. Buckley, was not
ready to abandon plaintiffs’ challenge to the legality of the fees. In a transparent attempt to
circumvent the D.C. Circuit’s ruling in Montrois that the IRS can charge fees for PTIN renewals,
Mr. Buckley filed a preliminary injunction motion—purportedly on behalf of the class—seeking
to enjoin the IRS from even requiring class members to renew their PTINs in the first place. ECF
No. 128. He explained this change in strategy as follows: If tax-preparers cannot be required to
renew their PTINs, he argued, they cannot be charged a renewal fee. ECF No. 128 at 1. Notably,

Mr. Buckley’s co-counsel, including Class Counsel Motley Rice LLC, refused to be listed on the
Case 1:14-cv-01523-RCL Document 145 Filed 12/04/20 Page 5 of 14

filing. See id.; see also ECF No. 63 (appointing Motley Rice LLC as Class Counsel), ECF No. 126
(denying Mr. Buckley’s motion to be appointed plaintiffs’ sole lead counsel).

Before the Government could respond, Class Counsel Motley Rice LLC opposed the
preliminary injunction motion filed by Mr. Buckley. ECF No. 130. Class Counsel explained that
it “does not believe that the motion is in the best interests of the class” and that it “requested that
Mr. Buckley not file it.” Jd. at 2. Accordingly, Class Counsel asked the Court not to consider the
motion. Jd. Mr. Buckley replied in support of his motion, arguing that he has the “legal right to
represent the class.” ECF No. 131 at 3.

The Government also opposed the preliminary injunction motion. ECF No. 132. It argued
that the Court should deny the motion because it seeks relief outside the scope of the amended.
‘ complaint. Though plaintiffs seek to preliminarily enjoin the IRS from requiring class members to
renew their PTINs, it argued, the (then-operative) amended complaint “does not challenge or even
discuss whether the IRS may require renewal of a PTIN.” /d. at 1-2 (emphases omitted). And, the
Government asserted, plaintiffs “cannot obtain injunctive relief on an issue that is not part of their
amended complaint.” Jd. at 2.

C. Plaintiffs’ Motion to File a Second Amended Complaint

Perhaps taking the Government’s argument in its opposition to heart, Mr. Buckley
subsequently moved on plaintiffs’ behalf for leave to file a second amended complaint. ECF No.
133. He requested to add two categories of allegations: First, Mr. Buckley sought to reintroduce
allegations challenging the PTIN renewal requirement. See ECF No. 133-2 at 14. Second, because

he anticipated that the IRS would begin collecting PTIN fees again in mid-October 2020,
Case 1:14-cv-01523-RCL Document 145 Filed 12/04/20 Page 6 of 14

Mr. Buckley also sought to add a new claim challenging the amount of fees charged in and after
2020 as excessive. /d. at 10-11.*

In his motion, Mr. Buckley represented that Motley Rice LLC consented to the proposed
changes. /d. at 2. Yet the very next day, Motley Rice LLC responded to Mr. Buckley’s motion,
explaining that it did not authorize Mr. Buckley to file it. ECF No. 135. Again, Motley Rice LLC
requested that the Court not consider the motion. /d. at 1. Mr. Buckley replied in his defense,
urging the Court to consider the motion. ECF No. 136.

The bickering between plaintiffs’ counsel ceased when plaintiffs and the Government filed
a stipulation regarding plaintiffs’ motion to file a second amended complaint. ECF No. 139. The
parties attached a. proposed second amended complaint to the stipulation and indicated in that
attachment which of the plaintiffs’ proposed additions the Government opposed. ECF No. 139-1. °
Though the Government agreed to the addition of a claim challenging the amount of PTIN fees
charged in and after 2020 as excessive, it opposed plaintiffs’ request to challenge the PTIN renewal
requirement. ECF No. 139 at 2.

II. DISCUSSION

With this context, the Court now turns to the two ripe motions before it: plaintiffs’ motion’
to preliminarily enjoin the IRS from requiring class members to renew their PTINs, ECF No. 128,
and their motion to file a second amended complaint, ECF No. 133. For the reasons explained
below, the Court will grant in part and deny in part plaintiffs’ motion to file a second amended
complaint, ECF No. 133. Though the Court will allow plaintiffs to add a claim challenging the

amount of PTIN fees charged in and after 2020 as excessive, the Court finds that adding a challenge

 

“In October 2020, the Government indeed began charging PTIN fees again. ECF No. 142 at 2. Once this
happened, the parties stipulated that in addition to resolving challenges to fees collected between 2010 and
2017, they will also resolve any challenges to the amount charged for fees collected in 2020 and each
subsequent year during the pendency of this litigation. ECF No. 144.

6
Case 1:14-cv-01523-RCL Document 145 Filed 12/04/20 Page 7 of 14

to the PTIN renewal requirement would be futile. The Court also finds that plaintiffs sought to
reintroduce this challenge after undue delay. Accordingly, because the operative complaint in this
matter—the second amended complaint—does not challenge the PTIN renewal requirement, the
Court cannot preliminarily enjoin the IRS from requiring PTIN renewals. It will thus deny
plaintiffs’ preliminary injunction motion, ECF No. 128.

A. The Court Will Grant in Part and Deny in Part Plaintiffs’ Motion to File a Second
Amended Complaint

Plaintiffs’ proposed additions to the amended complaint can be grouped into two
categories: (1) allegations involving the amount of fees collected for the issuance and renewal of
PTINs in and after 2020, and (2) allegations involving the PTIN renewal requirement. See ECF
No. 139-1. As for the first category, the Government has agreed to allow plaintiffs to add a éiaim
challenging the amount of PTIN fees collected in and after 2020 as excessive. ECF No. 140 at 1.
Pursuant to Federal Rule of Civil Procedure 15(a)(2), the Court will thus grant plaintiffs’ motion
to file a second amended complaint, ECF No. 133, with respect to these consented-to allegations.
See Fed. R.-Civ. P. 15(a)(2) (providing that after a party amends a pleading once as a matter of
course, the party can amend the pleading again if the other party consents in writing).

The Government does not, however, consent to plaintiffs’ request to reintroduce a
challenge to the PTIN renewal requirement. ECF No. 140 at 1; ECF No. 139-1 at 15 & 17. It raises
two arguments for denying plaintiffs’ request: First, allowing plaintiffs to add their proposed
allegations challenging the PTIN renewal requirement would be futile. ECF No. 140 at 5-9. And
' second, plaintiffs sought leave to add these allegations after undue delay. /d. at 9-11. The Court
will address each argument in turn. Ultimately, the Court agrees that plaintiffs’ request to add a

claim challenging the PTIN renewal requirement was made after undue delay. It also finds that
Case 1:14-cv-01523-RCL Document 145 Filed 12/04/20 Page 8 of 14

granting plaintiffs leave to add their proposed allegations challenging the PTIN renewal
requirement would be futile, but not for the reasons advanced by the Government.

I. Legal Standard Governing Plaintiffs’ Motion to File a Second Amended Complaint

After a plaintiff has amended the conistaiiit once as a matter of course, the plaintiff may
amend the complaint again only with “the opposing party’s consent or the court’s leave.” Fed. R.
Civ. P. 15(a)(2). Leave to amend should be “freely given,” unless the court finds: (1) “undue delay,
bad faith or dilatory motive on the part of the movant,” (2) a “repeated failure to cure deficiencies
by amendments previously allowed,” (3) “undue prejudice to the opposing party by virtue of
allowance of the amendment,” or (4) that granting leave to amend would be futile. Foman v. Davis,
371 U.S. 178, 182 (1962); see Fed. R. Civ. P. 15(a)(2) (providing that “[t]he court should freely
give leave when justice so requires”).

Relevant here are two of these reasons for denying a Rule 15(a)(2) motion to amend: undue
delay and futility. As for undue delay, a district court cannot deny a Rule 15(a)(2) motion to amend
based on untimeliness alone. Jn re APA Assessment Fee Litig., 766 F.3d 39, 56-57 (D.C. Cir. 2014)
(citing Foman, 371 U.S. at 182). Instead, the defendant must show “undue prejudice.” Id.; accord
Charles Alan Wright, et al., 6 Federal Practice & Procedure § 1488 (3d ed. 2010) (“In most cases,
delay alone is not a sufficient reason for denying leave.”). To determine whether granting leave to
amend will unduly prejudice the defendant, courts consider “the hardship to the moving party if
leave to amend is denied, the reasons for the moving party failing to include the material to be
added in the original pleading, and the injustice resulting to the party opposing the motion should
it be granted.” Jd. at § 1487.

As for futility, an amendment would be futile if “the proposed claim would not survive a

motion to dismiss.” James Madison Ltd. v. Ludwig, 82 F.3d 1085, 1099 (D.C. Cir. 1996); see In
Case 1:14-cv-01523-RCL Document 145 Filed 12/04/20 Page 9 of 14

re Interbank Funding Corp. Sec. Litig., 629 F.3d 213, 215-16 (D.C. Cir. 2010) (noting that a
court’s review of a motion to amend the complaint challenged on futility grounds is, “for practical
purposes,” identical to review of a Federal Rule of Civil Procedure 12(b)(6) motion to dismiss).
And to survive a Rule 12(b)(6) motion to dismiss, the complaint must contain “a short and plein
statement of the claim showing that the pleader is entitled to relief.” Ashcroft v. Iqbal,
556 U.S. 662, 677-78 (2009) (quoting Fed. R. Civ. P. 8(a)(2)). A pleading that offers mere “labels
and conclusions” will not do. /d. at 678 (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544,
555 (2007)). Though legal conclusions “can provide the framework of a complaint, they must be
supported by factual allegations.” Jd. at 679.

2. .Plaintiffs Seek to Challenge the PTIN Renewal Requirement After Undue Delay

The Court agrees with the Government that plaintiffs’ request for leave to add a challenge
to the PTIN renewal requirement was made after undue delay. See ECF No. 140 at 9-11. First,
allowing plaintiffs to reintroduce a challenge to the PTIN renewal requirement more than five
years after they omitted it from their amended complaint would unfairly prejudice the Government.
A brief recounting of the case’s procedural history shows why that is so.

Since’ mid-2015, when plaintiffs filed their amended complaint, they have focused
exclusively on the legality and reasonableness of PTIN fees. See Am. Compl. (filed 8/7/2015). In
September 2016, the parties cross-moved for partial summary judgment on the question of whether
the IRS has statutory authority to charge class members a fee for the issuance and renewal of
PTINs. ECF Nos. 66 & 67. After this Court held that the IOAA does not authorize the IRS to
charge a fee for the issuance and renewal of PTINs, Steele, 260 F. Supp. 3d at 55—56, the D.C.
Circuit reversed and held that the IRS can lawfully charge PTIN fees, Montrois, 916 F.3d at 1058.

The D.C. Circuit then vacated the Court’s judgment and remanded the matter for “an assessment
Case 1:14-cv-01523-RCL Document 145 Filed 12/04/20 Page 10 of 14

of whether the amount of the PTIN fee unreasonably exceeds the cost to the IRS to issue and
maintain PTINS.” Jd. Since April 2019, the parties have been in discovery on that issue.

Today, plaintiffs seek to completely alter the course of this litigation by challenging the
IRS’s legal authority to even require class members to renew their PTINs in the first place.
Resolving that issue will, of course, require that the parties halt discovery on the reasonableness
of the fees charged for the issuance and renewal of PTINs and first litigate the threshold issue of
whether the IRS can even require class members to renew their PTINs. It would be manifestly
unjust to require the Government to defend this new theory of the case at this late hour.

Second, unlike plaintiffs’ claim challenging the amount of PTIN fees charged in and after
2020 as excessive, which could not have been made in the initial or amended complaint, plaintiffs
offer no valid reason for seeking to add a challenge to the PTIN renewal requirement more than
six years after initiating the suit. See Compl. (filed 9/8/2014). They claim that after this Court’s
2017 ruling on the parties’ cross-motions for partial summary judgment, the IRS stopped requiring
annual renewals. ECF No. 133-4 at 3. At this time, plaintiffs say, there was no need to seek leave
to amend. Jd. But even assuming that the IRS in fact did stop requiring renewals after this Court’s
2017 ruling, this does not excuse plaintiffs’ failure to includé a challenge to the PTIN renewal
requirement in their amended complaint, which they filed approximately two years before the IRS
allegedly stopped requiring renewals.

Indeed, the fact that plaintiffs’ initial complaint sought to enjoin the Treasury Department
from requiring class members from.renewing their PTINs shows that plaintiffs were well aware of
this practice in 2015. See Compl. 32 (seeking an injunction prohibiting the Treasury Department
“from asking [for] more information than is necessary to issue a PTIN[] and requiring [the

Treasury Department] to ask for such necessary information only once”). Jd. Yet when they

10
Case 1:14-cv-01523-RCL Document 145 Filed 12/04/20 Page 11 of 14

amended their complaint, plaintiffs omitted this request for relief. See Am. Compl. 15. Plaintiffs
argue that challenging the PTIN renewal requirement in the initial complaint shows “good faith,”
which the Court should take into consideration. ECF No. 141 at 4. To the contrary, the fact that
plaintiffs omitted this challenge from the amended complaint led the Government to Belicte, and
rightly so, that this issue was no longer part of the suit.

Finally, any possible hardship imposed on plaintiffs by the Court’s refusal to allow
plaintiffs to add a claim challenging the PTIN renewal requirement cannot outweigh the prejudice
to the Government and complete lack of justification for delaying more than five years to
reintroduce this claim. Any resulting hardship should not come as a surprise to plaintiffs. As seen
by the relief requested in their initial complaint, plaintiffs were well aware of the PTIN renewal
requiremént when they initiated this suit over six years ago. See Compl. 32. And as' plaintiffs’
counsel, Mr. Buckley, candidly admits, the choice to omit that claim from the amended complaint
was an intentional decision made by Class Counsel over his objection. See ECF Nos. 131 at 3 n.1
& 136 at 1. Plaintiffs cannot claim to be unfairly burdened by the Court’s refusal to allow them to
add allegations they strategically chose to abandon over five years ago.

3. Granting Plaintiffs’ Leave to Amend with Respect to the PTIN Renewal Requirement
Would Be Futile

In any event, even if plaintiffs’ request to add a challenge to the PTIN renewal requirement
were timely, the Court would nevertheless deny it as futile. Plaintiffs’ proposed second amended
complaint includes a mere two paragraphs addressing the PTIN renewal requirement. ECF No.
139-1 at 15 & 17. First, plaintiffs wish to add the following paragraph to the First Claim, which
challenges “Unlawful PTIN Fees”:

The plaintiffs are further entitled to a judgment declaring that a tax return preparer need

apply for a PTIN only once, and that the application relating to a PTIN request only the
information necessary to issue a PTIN, as was required before the IRS licensing scheme,

11
Case 1:14-cv-01523-RCL Document 145 Filed 12/04/20 Page 12 of 14

previously described, was implemented (i.e. name, Social Security number, date of birth
and current address). .

ECF No. 139-1 at 15.
Second, in the Prayer for Relief, plaintiffs seek to add a request for: “[a] judgment declaring that
the IRS may only require a tax return preparer to make one filing to acquire and maintain a PTIN.”
ECF No. 139-1 at 17. Beyond these two conclusory statements, the complaint makes no mention
of the legality of the PTIN renewal requirement. See generally ECF No. 139-1.

Because plaintiffs do not provide any factual allegations supporting their challenge to the
PTIN renewal requirement, the Court finds that granting Ieave to add these two paragraphs would °
be futile. See James Madison Ltd., 82 F.3d at 1099. Plaintiffs assert the naked legal conclusions
that they are entitled to a judbment “declaring that a tax return preparer need apply for a PTIN
only once” and that “the IRS may only require a tax return preparer to make one filing to acquire
and maintain a PTIN.” ECF No. 139-1 at 15 & 17. In so doing, plaintiffs twice state that they are
entitled to relief, but provide no legal basis for why they are entitled to such relief. Indeed, it is
telling that plaintiffs merely tack this conclusory request for relief onto their First Claim, titled
“Unlawful PTIN Fees.” ECF No. 139-1 at 14-15 (emphasis added). Without a “short and plain
statement of the claim showing that the pleader is entitled to relief,” these allegations would not
survive a Rule 12(b)(6) motion to dismiss. Fed. R. Civ. P. 8(a); see Iqbal, 556 U.S. at 677-78.
Accordingly, the Court finds that granting plaintiffs leave to add their proposed allegations

challenging the PTIN renewal requirement to a second amended complaint would be futile.°

 

5 Because the Court finds futility on the grounds that plaintiffs’ proposed allegations challenging the PTIN
renewal requirement would not survive a Rule 12(b)(6) motion to dismiss, it need not address the
Government’s alternative theory for why granting leave to amend would be futile. See ECF No. 150 at 5—
9.

12
Case 1:14-cv-01523-RCL Document 145 Filed 12/04/20 Page 13 of 14

B. The Court Will Deny Plaintiffs’ Preliminary Injunction Motion

The Court’s resolution of plaintiffs’ motion to file a second amended complaint, ECF No.
133, necessarily informs its resolution of plaintiffs’ preliminary injunction motion, ECF No. 128.
AS plained above, plaintiffs sesk to preliminarily etjoin the IRS from requiring class members
to renew their PTINs. ECF No. 128-1. But because the Court will deny plaintiffs’ request to add
allegations challenging the PTIN renewal requirement to a second amended complaint, see supra
Part II.A, plaintiffs’ preliminary injunction motion seeks to preliminarily enjoin a practice that is
not challenged in the operative complaint.°

Accordingly, the Court must deny plaintiffs’ preliminary injunction motion because it
cannot grant preliminary relief on claims not pleaded in the complaint. See Pac. Radiation
Oncology, LLC v. Queen’s Med. Ctr., 810 F.3d 631, 633 (9th Cir. 2015) (“A court’s equitable
power lies only over the merits of the case or controversy before it.”); Kaimowitz v. Orlando,
122 F.3d 41, 43 (11th Cir. 1997) (per curiam) (affirming the denial of a preliminary injunction
motion when the relief sought involved matters not pleaded in the complaint). As the Supreme
Court has recognized, “[a] preliminary injunction is always appropriate to grant immediate relief
of the same character as that which may be granted finally.” De Beers Consol. Mines v. United
States, 325 U.S. 212, 220 (1945) (emphasis added). Indeed, if a preliminary injunction motion
seeks temporary relief on claims not pleaded in the complaint, the court will have no occasion to
finally adjudicate those claims on the merits. Cf Omega World Travel, Inc. v. Trans World

Airlines, 111 F.3d 14, 16 (4th Cir. 1997).

 

° Nor was this practice challenged at the time plaintiffs filed their preliminary injunction motion, ECF No.
128. At that time, the operative complaint was the amended complaint, which challenged only the IRS’s
practice of charging fees for the issuance and renewal of PTINs, not the actual renewal requirement itself.
See Am. Compl.

13
Case 1:14-cv-01523-RCL Document 145 Filed 12/04/20 Page 14 of 14

Here, because the Court rejects plaintiffs’ request to add allegations challenging the PTIN
renewal requirement to the second amended complaint, see supra Part II.A, the Court cannot
preliminarily enjoin the IRS from requiring class members to renew their PTINs. If it did, the
Court would have no sccation to finally adjudicate this claim on the merits. Thus, the Court must
deny plaintiffs’ preliminary injunction motion, ECF No. 128.

IV. CONCLUSION

For the reasons explained above, the Court will DENY plaintiffs’ preliminary injunction
motion, ECF No. 128. It will further GRANT IN PART and DENY IN PART plaintiffs’ motion
to file a second amended complaint, ECF No. 133. The Court will allow plaintiffs to add only the

. allegations consented to by the Government, as indicated in ECF No. 139-1. Plaintiffs shall file a
second amended complaint that complies with this Memorandum Opinion with the Clerk of Court
within ten days.

An accompanying Order consistent with this Memorandum Opinion shall follow.

Date: December 42020 “Fons C: Fortlle

Hon. Royce C. Lamberth
United States District Judge

14
